                  Case 2:17-cv-00014-APG-NJK Document 84 Filed 03/18/19 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District
                                                      __________      of Nevada
                                                                 District of __________

                  SCOTT MICHAEL WHITT                                 )
                             Plaintiff                                )
                                v.                                    )       Civil Action No. 2:17-CV-00014-APG-NJK
           RICHLAND HOLDINGS, INC., et al.                            )
                            Defendant                                 )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

’ the plaintiff (name)                                                                                          recover from the
defendant (name)                                                                                                   the amount of
                                                                             dollars ($               ), which includes prejudgment
interest at the rate of                    %, plus post judgment interest at the rate of             % per annum, along with costs.

✔
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
Richland Holdings, Inc.                    recover costs from the plaintiff (name)   Scott Michael Whitt
                                                   .

’ other:

                                                                                                                                      .

This action was (check one):

’ tried by a jury with Judge                                                                           presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                           without a jury and the above decision
was reached.

✔
’ decided by Judge             Andrew P. Gordon                                                 on a motion for
      Summary Judgment
                                                                                                                                      .

Date:                                                                        CLERK OF COURT



                                                                                           Signature of Clerk or Deputy Clerk

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